                     Case 1:21-cr-00310-SDG-LTW Document 19-1 Filed 08/17/21 Page 1 of 1

U.S. Department of Justice
                                                                                                                FILED IN OPEN COURT
United States Attorney                                                                                                  U.S.D.C. Atlanta

                                                                                                                         AUG 1 7 2021
                                     IN THE UNITED STATES DISTRICT COURT _Kev^
                                          FOR THE NORTHERN DISTRICT OF GEORGIA By:

                                                                 Division: Atlanta
                                                                 (USAO: 2021R00674)

                                 DEFENDANT INFORMATION RELATWE TO A CRIMINAL ACTION


COUNTyNAME: Clayton                                                      DISTRICT COURT NO. i. Z, 1 "                      s    0.
                                                                                                                                0 J.


                                                                         MAGISTRATE CASE NO. 1:21-MJ-700

X Indictment                                       Information                               X Magistrate's Complaint
DATE: August 17,2021                               DATE:                                     DATE: July 20,2021

                              UNITED STATES OF AMERICA                   SUPERSEDING INDICTMENT
                                        vs.                             Prior Case Number:
                             DAWAUN NA'JEE WILLIAMS                     Date Filed:

GREATER DEFENSE CHARGBD: X Felony Misdemeanor


                                                           Defendant Information:
Is the defendant in custody? X Yes No
Is the defendant in custody on this charge or other conviction? On this charge
Is the defendant awaiting trial on other charges? Yes X No
            Other charges:
            Name of institution:


Will the defendant require an interpreter? Yes X No




District Judge:
Magistrate Judge: Regina D. Cannon



Attorney: Theodore S. Hertzberg
Defense Attorney: Kendal Demetrius Silas
